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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION



UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
       vs.                                  )       Cause No. 1:03-cr-0017-02 LJM/KPF
                                            )
DAVID NEAL SMITH, JR.,                      )
                                            )
                      Defendant.            )


              ORDER ADOPTING REPORT AND RECOMMENDATION

       Having reviewed Magistrate Judge Kennard P. Foster’s Report and Recommendation that

David Neal Smith’s supervised release be revoked, pursuant to Title 18 U.S.C. §3401(i), Rule

32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, the Court now approves

and adopts the Report and Recommendation as the entry of the Court, and orders a sentence imposed

of imprisonment of 24 months in the custody of the Attorney General. It is recommended that the

defendant be designated to the Farm Camp at the Federal Correctional Complex in Terre Haute,

Indiana. Upon Mr. Smith’s release from confinement, he will not be subject to supervised release.

       SO ORDERED this _______ day of September, 2012.
                        09/11/2012




                                                   ________________________________
                                                   LARRY J. McKINNEY, JUDGE
                                                   United States District Court
                                                   Southern District of Indiana
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U. S. Parole and Probation

U. S. Marshal




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